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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR207
                              )
          v.                  )
                              )
SAMUEL HERNANDEZ,             )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

for release pending sentencing (Filing No. 51).              After hearing,

the Court finds said motion should be denied.            Accordingly,

          IT IS ORDERED that defendant’s motion for release

pending sentencing is denied.

          DATED this 13th day of October, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
